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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

GEORGE MOORE, on behalf of himself           :
and others similarly situated,               :
       Plaintiff,                            :
                                             :     Case No. 1:18-cv-02794
       v.                                    :
                                             :     Honorable John Robert Blakey
DEFENDERS, INC. d/b/a PROTECT                :
YOUR HOME, SUGAR VENTURES,                   :     Magistrate M. David Weisman
LLC, FREDERICK T. HICKERSON III              :
and STERLING SILVER ASSETS                   :
CORP.                                        :
      Defendants.                            :
                                             /

                               STIPULATION OF DISMISSAL

       The plaintiffs file this stipulation of dismissal with prejudice pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii) of all claims in the above-captioned case, with each side bearing its own costs.

None of the rights of any putative class members other than the plaintiffs have been released or

are otherwise affected by this dismissal.

       RESPECTFULLY SUBMITTED AND DATED this 27th day of December, 2018.


By:/s/ Anthony Paronich         By: /s/ Jeffrey N. Rosenthal        By: /s/ Isaac J. Colunga
Anthony Paronich                Jeffrey N. Rosenthal                Isaac J. Colunga
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Counsel for Plaintiff           Counsel for Defendant Sugar         Counsel for Defenders, Inc.
                                Ventures, LLC                       d/b/a Protect Your Home
    Case: 1:18-cv-02794 Document #: 63 Filed: 12/27/18 Page 2 of 2 PageID #:582




                               CERTIFICATE OF SERVICE
       I, Anthony Paronich, hereby certify that on December 27, 2018, I filed the foregoing with

the Court’s CM/ECF system, which served the same on the counsel of record.


                                            /s/ Anthony Paronich
                                            Anthony Paronich




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